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EXHIBIT Z-10
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Fw: Professional considerations

Risser, Mary V <Mary_Risser@nps.gov>
Tue 5/12/2020 12:31 PM

To: Stephenson, Elston L <elston_stephenson@nps.gov>
Cc: Keable, Edward T <edward_keable@nps.gov>

Elston,

One thing that you could do to enhance your relationship with other managers, it show them the
professional courtesy of talking issues over with them before sending out broad, mass emails. The
following is an example about what I'm talking.

You would save a tremendous about of time and effort if you took the time to talk to members of PSET
or the appropriate member of the staff directly. I'm referring to the Paul Revere emails that you sent out
this morning. The Concessions Management staff has been working hard with Paul Revere to ensure
that they will have a safe re-opening at the appropriate time. If that message is not getting down to the
staff, you should have Jet Pam Edwards know that so the issue could be addressed through the
appropriate channels. Please let the folks in concessions management know if there are issues, but
better yet, refer the employees to concessions management staff.

The other thing | want to remind you about is you have been directed not to send out all employee
messages. | realize that you probably spent a lot of time on your email entitle "| got the call." | really
don't think you accomplished what you wanted with that email. People who read it were confused;
others read the first paragraph and determined, "Oh, that's Elston..." and stopped reading. Either way,
you are not accomplishing your objective.

Mary

Mary Risser

Acting Superintendent
Grand Canyon National Park
P.O, Box 129

Grand Canyon, AZ 86023

928.638.7945
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Discussion/Actions Recommended on Being Scared - Paul Revere

Stephenson, Elston L <elston_stephenson@nps.gov>
Tue 5/12/2020 6:26 AM
To: NPS GRCA Executive Team <grca_executive_team@nps.gov>

i) 2 attachments (559 KB)
CDC Guidance For Re-Opening (short version).pdf; CDC What Transit Workers Need to Know About COVID-19.pdf;

Good Morning PSET,

Last week in discussions about Teammates ‘being scared’ and the impacts to Wellness---and ultimately
to successfully completing the mission, | wrote about hearing from Partners.

| was confided emphatically that the drivers of Paul Revere are especially scared. This must be
acknowledged and addressed.

The reasons appear similar to all mass transit workers regarding distancing, protection from passengers
potentially spreading, and cleanliness/sanitizing of carriers. Paul Revere's increased fear is also
influenced by several PR folks being older (in the more ‘vulnerable’ population) and several PR nationally
contracting, and if | recall correctly, | was told that there was even at least 1 PR COVID-19 fatality on the

East Coast.

While our Paul Revere Teammates are not NPS workers, in any Course of Action (COA) Analysis, mass
transit of our visitors is an Essential (vs Specified, Implied) Task without which mission success is not

possible,
They are also members of our Community.

This may come up in some form or another in the 'partners call’, or ‘community call’, but | respectfully
recommend that Paul Revere is exclusively pulled aside to address this.

Recommend that they be assured in 4 particular areas:

1. That NPS/GRCA will back a 'No Mask/No Board' policy

2, That NPS/GRCA will back a max number of passengers per bus. This can be determined in
consultation with Public Health based on the size of the bus and ‘social distancing’. And may require
increase number of buses/shortened timelines on PR's part.

3. An 'Ask Outside-Not on the Ride’ program of setting up kiosks or concierge at the bus stops where
riders can ask questions, directions, route information, etc. that they normally would ask the bus drivers,
This will eliminate risk by eliminating not only the scores of daily face-to-face encounters between
drivers and passengers, but also the pooling of passengers as they wait for that encounter to take place,
4, Partner or sponsor a partnership between NPS/GRCA and the likes of GCC to supplement any PPE,
cleaning supplies that Paul Revere is almost certainly to be short of as a (relatively) small private
company competing on the rabid national/global market for.

* Please consider entering and exiting through the rear door (CDC recommendation)

Again, recommend exclusively pulling them aside in an environment where they can speak with candor.

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Again, scared equals stress equal un-Wellness which ultimately weakens our Team and risks mission
failure. .

‘Thank You

Sincerely,

Elston

928-255-8727

Note:

The Recommendations above were the result of COA analysis informed by wargamming and applying
the CDC guidance on 'Re-Opening'---primarily the "Re-Opening" and "Safety Steps" of the "Interim

Guidance for Employers With Vulnerable Workers" (pg 10), and the "Interim Guidance for Mass Transit
Administrators" (pg 15) and CDC's What Transit Workers Need to Know About COVID-19. (both attached)

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| Got The Call (What It's Like)

_ Stephenson, Elston L <elston_stephenson@nps.gov>
Tue 5/5/2020 4:40 AM .
To: NPS GRCA All Employees <GRCA_Al|_Employees@nps.gov>

| was scared, | was scared about being in a hospital alone. 500 miles from ‘My People’. | was scared about being in
a hospital with a bunch of sick people. | was scared that | wouldn’t see My Little Girl again.

| Got The Call.

After putting in ‘a day’. | jumped on my bike and checked out—rode ‘off the grid’. | was too deep into the Second
Season of West Wing to answer it; but | got The Call. And when | got back | got The Email.

| had been identified as being in ‘close contact’ with someone showing symptoms of COVID-19—The Virus. They
_ Were awaiting test results.

That happened FAST!

| thought that | was doing all of the right things. | even began wearing an N95 that morning! Just as an
experiment...to practice wearing it.

| didn’t know what to do. | didn’t have a plan.
| had always thought about this happening to someone else. Notionally. In the abstract. .

One of the first things | did was text special people that | work with—people | was fond of and who (and their
families) | knew to be ‘vulnerable’ to let them know. It was a Thursday.

| was feeling a little panic—but still knew that if | were ‘carrying’ and they touched something that I touched, |
could give it to THEM. But if | asked them to work a home; any virus would probably not be alive by Monday, So |
asked them to see if they could work from home. And | stayed the hell out of the building because | did not want

to hurt anyone.

Man, that happened FAST!

But how to let my family and friends know? | had to let them know. Bad things don’t get better with time. And
probably only get worse. | know that My People—the people that love and care about me would want to worry
about me. They’re supposed to, But how to let them know? My precious elders—in their 80s—| wanted to make
sure that someone was face to face with them (before | told them) and preface it with “I just spoke to Elston and
he’s fine but...” so they wouldn’t have a heart attack or freak out as much as | had.

So | did.
So they did.

Then | did.

Many were upset about the email—they were pretty pissed about being notified of such a thing by email, It
soothed them when | let them know that | got The Call before the email. —

But now | had nothing but time (alone) on my hands. Nobody had to tell me. | had to stay away from people.

Funny thing about Time: | got into my own head. Every sneeze was “is that The Virus?!” only to realize that I’m
probably sneezing because I’m kicking up dust from being stuck in the house for days at time and cleaning stuff
that I’ve already cleaned half-a-dozen times. That cough??? “Was that a REAL cough or was | just clearing my
throat???” “Was | coughing like that before? Or is that The Virus?” “Is that ache The Virus?” It was driving me

nuts. _ 3

Then, one night, staring at the ceiling | realized that | have it easy! I’m in this house alone, | don’t have a wife or
kids to worry about—that | didn’t have to find some way to separate from them in my own house while awaiting .
the test results. Watching what I touched. Or be terrified of spreading Corona to Mother-in-Law who’s staying
with us. Then | thought to myself, “Who knows; maybe | could use this against Mother-in-Law—get the most out
of it; make up an excuse to quarantine her indefinitely!” ;) But it made me think of those who did (do) have to

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divide their homes. How were they doing it? Who gets to use what bathroom? What dishes? Touch what door
handles? It was no conciliation, but a realization. They had it a hundred times worse than | did.

What about work? As far as | knew, | hadn’t even been confirmed of having The Virus, and | normally work ‘Han

Solo’, but what if | were part of a crew or worked in a tight office, and had been ‘in close contact’ with them; just

the protocol could wipe us all out—wipe out an entire office or Section—take down this part of the Park.

Man, that happened FAST!

And that even as an out-of-shape former athlete | could always fall back on stretching, working it out, doing
something if something went wrong with my body. Not this.

| was scared.
Turns out ‘the person’ tested Negative.

They didn’t have The Virus which means that | almost certainly didn’t have The Virus (at least from them).

So What Did | Learn/Re-Affirm?
That as much as | thought about this notionally or in the abstract; it’s nothing like the real thing.
That | always thought that ‘it’ would happen to ‘other people’.

That | didn’t have a plan—not really. | didn’t have one for my family. What if it had happened the other way
around? What if one of them got sick?

That the most important thing to me (no matter how much of a ‘teenager’ she could be) was laying my eyes on
my ‘Little Girl’ again. And | almost ‘made a run for it’.

That it SUCKS wearing that mask. It slips of my face. It’s annoying as Hell. | feel look weak and goofy wearing it.
But | better. ‘get over it’. It just may save my life and those | care about. ,

That ‘email’ was Management.

That The Call was Leadership. From just the right person—Integrity, Compassion, someone | Trusted. Not
everybody can make The Call. It made all the difference. | much prefer Leadership.

That Man, that happened FAST!

Very Sincerely,

Elston

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_ Re: | Got The Call (What It's Like)

Cawley, Sharon R <Sharon_Cawley@nps.gov>

Tue 5/5/2020 4:28 PM

To: Stephenson, Elston L <elston_stephenson@nps.gov>

Thanks for sharing your experience, Elston. It made me realize that | don't have a plan either if | get the
corona virus or if a family member gets it. | feel melodramatic wearing a mask in public, but | am afraid
of people who don't, and I'm OK with looking silly: it goes with my total social distancing outfit.

Glad to hear that you are well - for now © Stay safe ©)

Sharon
pean Case 3:19-cv-08268-DLR Dodcttietptersr: “spad-Gelat/20 Page 8 of 10

Re: | Got The Call (What It's Like)

Besom, Kim KAB <Kim_Besom@nps.gov>
Tue 5/5/2020 8:13 AM
To: Stephenson, Elston L <elston_stephenson@nps.gov>

Thanks for this! Sorry you had to go through it.

Kim
_ 5/31/2020 Case 3:19-cv-08268-DLR Do@yimerpréreoh, e&WeC-OG1hK/20 Page 9 of 10

Re: | Got The Call (What It's Like)

Shoemaker, Murray <Murray_ SE ARERa NES gov>
Tue 5/5/2020 8:05 AM
To: Stephenson, Elston L <elston_stephenson@nps.gov>

Elston,
Excellent email! And GLAD YOU ARE OK'!!!!

Murray Shoemaker

District Interpreter, Village District
Grand Canyon National Park
928-638-7765
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Re: | Got The Call (What It's Like)

Watts, Tonya M <Tonya_Watts@nps.gov>
Tue 5/5/2020 6:36 AM
To: Stephenson, Elston L <elston_stephenson@nps.gov>

So glad you are well, Elston. Thanks for sharing this.

Tonya Watts

Administrative Assistant (Detail)
Office of the Superintendent
Grand Canyon National Park
USAccess Station ©

Office (928) 638-7720

Cell (240) 432-0834 —

